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	      	       	       	       	       	       	       		April	6,	2018	
VIA	ECF	
	
Hon.	Allison	D.	Burroughs	
U.S.	District	Court,	District	of	Massachusetts	
John	Joseph	Moakley	U.S.	Courthouse	
1	Courthouse	Way,	Suite	2300	
Boston,	MA	02210	
	
Re:	   Students	 for	 Fair	 Admissions,	 Inc.	 v.	 President	 &	 Fellows	 of	 Harvard	 College,		
       No.	1:14-cv-14176-ADB		
Dear	Judge	Burroughs,	
	      SFFA	submits	this	response	to	Harvard’s	letter	of	March	30,	2018	concerning	
the	treatment	of	confidential	materials	in	SFFA’s	forthcoming	motion	for	summary	
judgment.	SFFA’s	position	is	thoroughly	set	forth	in	its	own	letter.	This	short	response	
is	submitted	only	to	correct	factual	and	legal	errors	in	Harvard’s	submission.	
	       1.	Much	of	Harvard’s	letter	is	devoted	to	concerns	that	“deeply	personal	and	
highly	 sensitive	 information	 about	 applicants	 to	 and	 students	 at	 Harvard”	 will	 be	
disclosed	if	the	record	is	not	sealed.	Harvard	Letter	at	1.	The	argument	is	a	strawman,	
which	 Harvard	 repeatedly	 commingles	 with	 its	 separate	 claims	 of	 business	
confidentiality	in	an	attempt	to	bolster	those	meritless	assertions.	As	explained,	such	
information	is	not	in	dispute.	SFFA	has	almost	no	such	information	because	Harvard	
already	redacted	it,	and	SFFA	anticipates	using	at	summary	judgment	only	a	handful	
of	documents	 that	could	even	raise	 this	issue.	 SFFA	will	work	 collaboratively	with	
Harvard	before	filing	to	ensure	that	no	applicant	or	student	will	be	identified.	It	is	not	
a	justification	for	sealing	the	record.	
	        2.	Harvard	complains	that	it	would	be	“extremely	burdensome,	and	entirely	
unnecessary,	for	the	parties	or	Court	to	engage	in	a	document-by-document	review	
of	every	single	document	produced	in	this	litigation	before	knowing	which	of	those	
documents	are	even	at	issue.”	Harvard	Letter	at	1.	This	too	is	a	red	herring.	All	SFFA	
asked	Harvard	to	do	was	identify	samples	of	any	types	of	documents	that	it	thinks	
should	be	sealed	so	the	parties	could	confer.	Harvard’s	claim	that	“[w]ithout	a	specific	
document	 in	 hand	 to	 evaluate	 ...	 it	 is	 impossible	 to	 determine	 whether	 any	 of	 the	
myriad	types	of	documents	....	can	be	submitted	for	public	filing	in	the	first	instance,”	
id.	at	6,	thus	rings	hollow.	Harvard	had	the	opportunity	to	cherry-pick	any	documents	
it	wanted	so	as	to	make	its	strongest	possible	case.	It	declined	to	do	so.		
	      Relatedly,	Harvard	complains	that	the	“SFFA-defined	categories	of	documents	
are	both	overbroad	and	vague.”	Harvard	Letter	at	5.	SFFA	identified	those	categories,	
however,	at	Harvard’s	request.	Harvard’s	response	was	to	stall	and	then	ultimately	
refuse	to	offer	its	own	proposal	for	how	to	organize	the	record	so	that	the	Court	could	
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understand	the	types	of	documents	that	Harvard	seeks	to	seal.	But	the	point	is	not	to	
highlight	Harvard’s	strategic	refusal	to	participate	in	the	meet-and-confer-process	in	
an	 attempt	 to	 make	 sealing	 the	 entire	 record	 seem	 like	 the	 less	 burdensome	
alternative.	The	point	is	that	Harvard	wants	to	avoid	pointing	to	specific	documents	
because	doing	so	would	lay	bare	the	weakness	of	its	substantive	position.	Harvard	
prefers	to	allege	business	confidentiality	in	the	abstract	because	it	cannot	point	to	any	
specific	documents	that	actually	contain	protected	secrets.	
	      3.	Harvard	claims	“SFFA	has	not	made	any	proposal	for	how	the	documents	
that	SFFA	has	produced	and	designated	as	Confidential	or	Highly	Confidential	under	
the	Protective	Order	should	be	filed.”	Harvard	Letter	at	5	n.3.	That	is	untrue.	SFFA	
told	Harvard	 that	none	 of	 those	documents	will	 be	relevant	to	 SFFA’s	motion,	and	
Harvard	has	neither	indicated	whether	it	will	seek	summary	judgment	nor	explained	
how	SFFA’s	documents	would	be	relevant	to	such	a	motion.	SFFA	nevertheless	told	
Harvard	that	its	documents	should	be	treated	the	same	as	Harvard’s,	i.e.,	redacted	to	
ensure	that	applicants	and	students	are	not	identified,	but	otherwise	not	sealed.	SFFA	
is	puzzled	why	Harvard	made	this	assertion.				
	        4.	Harvard	claims	that	SFFA	has	no	“right	to	seek	public	dissemination	of	the	
information	that	it	obtained	from	Harvard	in	the	civil	discovery	process	and	that	is	
subject	to	a	proper	protective	order”	or	engage	in	a	“media	campaign.”	Harvard	Letter	
at	2.	But	SFFA	has	not	asked	for	release	of	the	full	record.	And	Harvard’s	insinuation	
that	SFFA	has	an	improper	motive	is	unfortunate.	SFFA	asks	only	that	the	documents	
it	relies	on	in	support	of	its	summary-judgment	motion	be	filed	on	the	public	docket—
for	the	simple	reason	that	“[t]he	public	…	is	entitled	to	know	why,	how	and	on	what	
basis	the	court	decided	the	summary	judgment	motion.”	Bullard	v.	Goodyear	Tire	&	
Rubber	Co.,	No.	09-4024,	2011	WL	5248085,	at	*2	(D.	Kan.	Apr.	12,	2011).	
	        5.	Harvard	conflates	the	“good	cause”	needed	for	a	protective	order	to	govern	
discovery	 with	 the	quite	 different	“good	 cause”	needed	 to	seal	summary-judgment	
filings.	Harvard	Letter	at	3.	The	Court’s	broad	discretion	to	issue	a	protective	order	
for	 discovery	 cannot	supply	 the	 “good	 cause”	needed	 at	 this	 stage	 of	 the	 case.	 See	
Bradford	 &	 Bigelow,	 Inc.	 v.	 Richardson,	 109	 F.	 Supp.	 3d	 445,	 448	 (D.	 Mass.	 2015);	
Mangosoft,	Inc.	v.	Oracle	Corp.,	No.	02-545,	2005	WL	2203171,	at	*2	(D.N.H.	Sept.	9,	
2005).	
	       6.	Harvard	offers	the	same	generalizations	about	the	“proprietary”	nature	of	
the	 “inner	 workings	 of	 its	 admission	 process”	 that	 it	 used	 to	 stonewall	 SFFA	
throughout	the	meet-and-confer	process.	Harvard	Letter	at	4.	Harvard’s	explanation	
is	 woefully	 insufficient.	 Harvard	 needed	 to	 bring	 forth	 compelling	 evidence	 and	
documentation	that	specific	(or	at	least	types	of)	documents	warrant	protection	as	a	
trade	secret	 or	 something	 approximating	one.	 “Far	more”	 than	 the	generalizations	
Harvard	offered	are	“necessary	before	the	court	may	properly	seal	documents	filed	
in	the	case.”	Mangosoft,	Inc.,	2005	WL	2203171,	at	*2;	see,	e.g.,	Thompson	v.	Glenmede	
Trust	Co.,	No.	92-5233,	1994	WL	689046,	at	*4	(E.D.	Pa.	Dec.	6,	1994)	(“[D]efendants	
have	 not	 shown	 good	 cause	 to	 seal	 the	 summary	 judgment	 papers.	 They	 fail	 to	
indicate	a	specific,	precise	harm.	Rather,	they	refer	to	broad,	generalized	issues	that	
might	be	sensitive	if	made	public.	Such	vague	concerns	are	insufficient	grounds	on	
which	to	seal	court	records.”).	Harvard	has	not	even	come	close	to	meeting	its	burden.	
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	        7.	 Harvard	 suggests	 that	 the	 presumption	of	 access	 may	 not	 apply	 because	
“[t]he	Court	may	decide	that	a	trial	is	necessary	in	this	case	and	may	rely	on	none	of	
the	 summary	 judgment	 materials	 in	 its	 rulings.”	 Harvard	 Letter	 at	 6.	 But	 the	 First	
Circuit	 has	“rejected	 an	 approach	 to	 public	access	that	 would	 turn	on	whether	the	
documents	at	issue	actually	played	a	role	in	the	court’s	deliberations.	Instead,	[it	has]	
held	that	documents	relevant	to	the	determination	of	the	litigants’	substantive	rights	
that	came	to	the	attention	of	the	district	judge	could	fairly	be	assumed	to	play	a	role	
in	 the	 court’s	 deliberations.”	 United	 States	 v.	 Kravetz,	 706	 F.3d	 47,	 58-59	 (1st	 Cir.	
2013)	(citation	omitted).	Accordingly,	“relevant	documents	which	are	submitted	to,	
and	 accepted	 by,	 a	 court	 of	 competent	 jurisdiction	 in	 the	 course	 of	 adjudicatory	
proceedings,	become	documents	to	which	the	presumption	of	access	applies.”	Id.	
	        8.	Harvard	cites	a	handful	of	cases	to	argue	that	“sealing	summary	judgment	
motions	and	related	documents	is	accepted	practice	in	this	District.”	Harvard	Letter	
at	7.	SFFA	does	not	claim,	however,	that	the	Court	lacks	the	power	to	seal	but	that	
Harvard’s	vague	assertions	are	insufficient	to	seal	documents	in	this	case	and,	even	if	
Harvard	had	made	a	stronger	case,	it	could	never	justify	sealing	the	entire	summary	
judgment	record.	Harvard’s	cases	do	not	say	otherwise.	All	of	Harvard’s	cites	are	(1)	
orders	that	contain	no	analysis	and	simply	grant	an	unopposed	motion	to	seal	or	(2)	
docket	entries	in	which	the	parties	unilaterally	acted	pursuant	to	a	protective	order.	
Further,	those	cases	appear	more	likely	to	have	involved	genuine	trade	secrets.	See,	
e.g.,	 CardiAQ	 Valve	 Techs.,	 Inc.	 v.	 Neovasc	 Inc.,	 No.	 1:14-cv-12405-ADB	 (patent	
infringement);	 see	 also	 id.	 (sealing	 only	 “portions”	 of	 briefs,	 “portions”	 of	 the	
statement	of	material	facts,	and	specific	exhibits).		
	       9.	 Last,	 Harvard	 incorrectly	 claims	 that	 its	 request	 “is	 consistent	 with	 the	
routine	granting	of	motions	to	seal	materials	containing	business	secrets	submitted	
in	 connection	 with	 summary	 judgment	 motions.”	 Harvard	 Letter	 at	 7	 n.4.	 But	 the	
Court	 cannot	 grant	 a	 motion	 to	 seal	 merely	 because	 there	 may	 be	 “confidential	
internal	business	information.”	Harvard’s	own	cases	confirm	that	such	decisions	must	
be	 narrow	 based	 on	 particularized	 findings	 about	 specific	 documents.	 See	
Goldenberg	v.	Indel,	Inc.,	No.	09-cv-5202,	2012	WL	15909,	at	*4	(D.N.J.	Jan.	3,	2012)	
(allowing	three	exhibits	to	be	sealed	because	“the	[Defendants]	do	not	ask	the	court	
to	seal	the	entirety	of	[the]	Declaration	or	their	motion	for	partial	summary	judgment	
as	 a	 whole”);	 Glass	 Dimensions,	 Inc.	 v.	 State	 St.	 Corp.,	 No.	 10-cv-10588,	 2013	 WL	
6280085,	at	*1	(D.	Mass.	Dec.	3,	2013)	(allowing	specific	documents	to	be	sealed	only	
after	 declarations	 “establish[ed]	 the	 sensitive	 and	 confidential	 nature	 of	 the	
information	and	provide[d]	a	particularized	showing	of	the	presence	of	commercial	
harm”);	McAirlaids,	Inc.	v.	Kimberly-Clark	Corp.,	No.	12-cv-578,	2013	WL	12317059,	
at	*2	(W.D.	Va.	July	23,	2013)	(redacting	“portions	of	...	memorandum	and	exhibits”);	
Interstate	 Fire	 &	 Cas.	 Co.	 v.	 New	 Hampshire	 Ins.	 Co.,	 No.	 CV-12-1237,	 2013	 WL	
11693771,	at	*1-2	(D.	Ariz.	Apr.	22,	2013)	(allowing	specific	documents	to	be	sealed).
	       	       	       	       	       	        	       		Respectfully	submitted,	
	       	     	       	         	       	        	       		/s/	William	S.	Consovoy									
	       	     	       	         	       	        	       						William	S.	Consovoy	
cc:	    ECF	recipients	
